




                                                                    



IN THE COURT OF APPEALS, THIRD DISTRICT OF TEXAS,



AT AUSTIN



                       




NO. 3-91-118-CR




STEVEN A. RANKINE,



	APPELLANT


vs.





THE STATE OF TEXAS,



	APPELLEE


                       




FROM THE COUNTY COURT AT LAW NO. 7 OF TRAVIS COUNTY


 

NO. 335,670, HONORABLE BRENDA KENNEDY, JUDGE



                       





PER CURIAM

	This is an appeal from a judgment of conviction for driving while intoxicated, first
offense.  The punishment is incarceration for sixty days and a $500 fine, probated.

	This cause was remanded to the trial court for a hearing pursuant to Tex. R. App.
P. Ann. 53(m) and 74(l) (Pamph. 1992).  This Court has now received a supplemental transcript
containing a motion to withdraw notice of appeal signed by appellant and approved by the trial
court.  The motion is granted.

	The appeal is dismissed.


[Before Chief Justice Carroll, Justices Aboussie and B. A. Smith]

Appeal Dismissed

Filed:   April 8, 1992

[Do Not Publish]


